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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,
                                             Filed Under Seal

                  Defendant


        GOVERNMENT’S SUPPLEMENT TO THE RECORD IN RESPONSE TO
          DEFENDANT MANAFORT’S POST-HEARING MEMORANDUM

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

submits two additional documents to supplement the record in response to Defendant’s February

8, 2019 post-hearing memorandum in connection with the Court’s February 4, 2019 partially

sealed hearing.

       As the court is aware, the Government submitted an affidavit and supporting

documentation regarding Mr. Manafort’s direction to Mr. Gates to share internal polling data with

Mr. Kilimnik during the 2016 presidential campaign. In contesting the facts in the record, the

Defendant’s post-hearing submission claims that “[i]t was only in September 2018, after the OSC

ha[d] started to interview Mr. Manafort that Mr. Gates, for the first time, claim[ed] that he provided

Mr. Kilimnik a mix of the public polls and the campaign’s              polling data.”

       Included as Attachments B and C to this filing are the July 14, 2018 Jencks letter to defense

counsel and, as part of the enclosed materials accompanying that letter, the FBI 302 of the February

7, 2018 interview of Mr. Gates. Pages 13-15 of the FBI 302 make clear that Mr. Gates disclosed,

well before September 2018, the sensitivity of the                internal polling data, which, for

example, “identified Wisconsin as a ‘steal state’ early on.” Gates went on to state on February 7,
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2018, that “Manafort instructed Gates to send Kilimnik information from           polls. Gates

sent Kilimnik both publically available information and internal information from

polls.”



                                                  Respectfully submitted,

                                                  ROBERT S. MUELLER III
                                                  Special Counsel

Dated: February 12, 2019                          By:    /s/ Andrew Weissmann

                                                  Andrew Weissmann
                                                  Jeannie S. Rhee (D.D.C. Bar No. 464127)
                                                  Greg D. Andres (D.D.C. Bar No. 459221)
                                                  U.S. Department of Justice
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                                                  Attorneys for the United States of America
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         ATTACHMENT B
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         ATTACHMENT C
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              $V HDUO\ DV 0DUFK  VWDWHV ZHUH FDWHJRUL]HG DV PXVW KROG
           EDWWOHJURXQG DQG SRWHQWLDO 6WDWHV ZHUH SXW LQWR RQH RI WKHVH
           FDWHJRULHV EDVHG XSRQ SROOLQJ GDWD 0DQDIRUW ZDV D VWURQJ EHOLHYHU LQ
           SROOV

              ,W ZDV EHOLHYHG WKDW WKH EHVW FKDQFH IRU 7UXPS WR ZLQ WUDGLWLRQDOO\
           'HPRFUDW VWDWHV ZDV WR IRFXV RQ WKRVH VWDWHV ZLWK D ODUJH FRQWLQJHQF\ RI
           EOXH FROODU 'HPRFUDWV +LVWRULFDO GDWD DORQJ ZLWK HDUOLHU SROOLQJ GDWD
           ZDV XVHG WR ZKLWWOH WKH VWDWHV GRZQ 7KHQ                  GLJLWDO
           FDPSDLJQ ZDV XVHG WR IRFXV LQ RQ WKRVH VWDWHV

                         GLJLWDO SROOLQJ PRGHO GLIIHUHG IURP WUDGLWLRQDO SROOLQJ LQ
           WKDW LW ZDV PRUH VLPSOLVWLF FKHDSHU DQG JDYH LQVLJKW LQWR PLOOHQQLDO DQG
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           ZLQ VWDWH 3HQQV\OYDQLD RQ WKH RWKHU KDQG ZDV IRRO V JROG DQG 7UXPS
           ZDV XQOLNHO\ WR ZLQ WKHUH

              0DQDIRUW LQVWUXFWHG *DWHV WR VHQG .LOLPQLN LQIRUPDWLRQ IURP
           SROOV *DWHV VHQW .LOLPQLN ERWK SXEOLFDOO\ DYDLODEOH LQIRUPDWLRQ DQG
           LQWHUQDO LQIRUPDWLRQ IURP            SROOV




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                                 CERTIFICATE OF SERVICE

       Undersigned counsel hereby certifies that a copy of the foregoing motion for leave to file

under seal, including attachments, will be transmitted electronically to counsel for defendant

Manafort on February 12, 2019.


                                                     _/s/__Andrew Weissmann___
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